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     Gary Brown
 6

 7
                                  UNITED STATES DISTRICT COURT
 8
                                  FOR THE DISTRICT OF COLUMBIA
 9
                                                     ) Case No.: 1:14-cv-01033-ABJ
10   Gary Brown                                      )
                                                     ) NOTICE OF SETTLEMENT
11                  Plaintiff,                       )
                                                     )
12          vs.                                      )
     Williams, Rush & Associates LLC; and            )
13
     DOES 1 TO 10, inclusive.                        )
                                                     )
14
                    Defendant.                       )
15

16   TO ALL PARTIES AND THEIR ATTORNEY OF RECORD:

17                  NOTICE IS HEREBY GIVEN that the Plaintiff, by and through his attorneys,

18   informs this Honorable Court that Plaintiff has settled their case with Defendant, Williams, Rush

19   & Associates, LLC; and DOES 1 TO 10, inclusive. The parties are in the process of finalizing

20   settlement, and plaintiff respectfully requests that this Honorable Court vacate all dates currently

21   set on calendar for this case.

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23   ///

24   ///

25   ///



                                         NOTICE OF SETTLEMENT
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           Case 1:14-cv-01033-ABJ Document 4 Filed 11/11/14 Page 2 of 2




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                                        RESPECTFULLY SUBMITTED,
 2
     DATED: November 11, 2014          PRICE LAW GROUP APC
 3

 4
                                 By: /s/ L. Jeanette Rice          _
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                                NOTICE OF SETTLEMENT
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